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                                                                                     JAN 07 2019
                                        ATTACHMENT           A
                                                                                    AT GREEN GEL.
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                                                                                DISTRICT OF ••..••
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                                     STIPULATION         OF FACTS        BY                           1):?lJ1Y


          The undersigned parties stipulate and agree that if this case had proceeded to trial. this
 qUice would have proven thefollowingfacts beyond a reasonable doubt. The undersigned parties
 also stipulate and agree that the folio wing facts do not encompass all of the evidence that would
 have been presented had this matter proceeded to trial.

         From at least in or about September 2015 and continuing through at least in or about June
2017, in the District of Maryland and elsewhere, TAMIKO SCOTT-BONDS,               a/k/a "Tamiko
Richardson" ("BONDS") knowingly and willfully executed, and attempted to execute, a scheme
and artifice to defraud a health care benefit program, and to obtain by means of materially false
and fraudulent pretenses, representations, and promises, money and property owned by, and under
the custody and control of, a health care benefit program, in connection with the delivery of and
payment for health care benefits, items, and services ("the scheme to defraud"). Specifically, on
or about the dates listed below, BONDS caused to be submitted false and fraudulent claims to the
Maryland Medicaid health care benefit program:


   Health Care                                                             Date
                        Individual                                                       Amount
                                            Controlled    Substance   Prescription
    Provider                                                                             Claimed
                                                                          Filled
         I                   1                   Oxycodone              9/5/2015           $47.73
         I                   I                   Alprazolam            9/14/2015            $7.88
                                             Dextroamphetamine
         1                   I                                         9/28/2015          $66.29
                                               Amphetamine
        1                  2                     Oxycodone             9/14/2015          $42.34
        1                  2                     Alprazolam            6/] 9/2016          $7.88
        1                  2                     Alprazolam            7/1 ]/2016          $7.88
        I                  2                     Alprazolam             8/2/2016           $7.88
        I                  3                    Alprazolam             4/16/2016           $7.88
        ]                  3                    Alprazolam              5/8/2016           $7.88
        2           SCOTT-BONDS                Promethazine            6!l 6/2017         $38.42
        2           SCOTT-BONDS                Promethazine            6/22/2017          $38.42
        2           SCOTT -BONDS                Clonazepam             6116/2017          $12.94
        2           SCOTT-BONDS                 Clonazepam             6/19/2017          $12.94
        3           SCOTT-BONDS                 Alprazolam             6/29/2016           $7.88
        3           SCOTT-BONDS                 Alprazolam             7/20/20]6           $7.88

         During and in relation to BONDS's execution of the scheme to defraud described above,
BONDS possessed, transferred, and used--without      lawful authority-Health Care Provider l's
real name and Drug Enforcement Administration          number, both of which were means of
identification as defined by 18 U.S.c.  *1028(a)(7). At the time BONDS possessed, transferred,
and used Heath Care Health Care Provider 1's means of identification, BONDS knew that Health
Care Provider I was a real person.



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                  On March 1,2016, law enforcement officers encountered BONDS after she drove her car
         into a traffic sign at the corner of West Greenbelt Road and North Kenilworth Avenue in Greenbelt,
         Maryland. Because BONDS had a-=~ed                  license and an outstanding arrest warrant, the
     @officers arrested BONDS. During a                  sce~h of BONDS's car, officers found medication(0
1(l..1Yl bottles filled in the names of pharmaceutical patients; prescription receipts; blank prescriptions; W-nt
 t'-A'fl completed prescriptions; prescription bottles filled with Percocet, Adderall, Clonidine, GO?
 LJ -    Gabapentin, Alprazolam, and Metformin; identification cards issued to Individual 1and Individual
         2; and a six page handwritten ledger of 78 names and birth dates, including names which also
         appeared on the prescription receipts, completed prescriptions, and pill bottles found in BONDS's
         car. The prescription receipts and completed prescriptions found in BONDS's car were written
         using the stolen names and Drug Enforcement Administration ("DEA") numbers of practicing
         physicians, including Health Care Provider 1, and were for Oxycodone, Percocet, and Alprazolam,
         among other drugs.

               On October 22, 2016, BONDS-wearing medical scrubs and a stethoscope around her
       neck-went into a pharmacy in Anne Arundel County, Maryland and attempted to fill a fraudulent
       prescription for 90 pills of Alprazolam which was written to Individual 4. The prescription was
       written using Health Care Provider 2's stolen name and DEA number. The pharmacist-suspicious
       that BONDS was committing prescription fraud-called the Anne Arundel police. Law
       enforcement officers who responded to the pharmacy ran a warrant check and found that BONDS
       had open warrants for failure to appear, identity theft, and prescription fraud. The officers
       thereafter arrested BONDS, and incident to arrest conducted a lawful search of BONDS's purse.
       In BONDS's purse, officers found BONDS's driver's license; a USB drive; prescription receipts
       for Alprazolam, Promethazine, and Clonidine written to different pharmaceutical patients; a
       notebook with handwritten names and dates of birth that BONDS used to commit prescription
       fraud; and three pill bottles containing assorted pharmaceutical drugs, including a Clonidine bottle
       prescribed to Individual 5.

              On October 31, 2016, law enforcement obtained a warrant to search the USB drive found
       in BONDS's purse. That USB drive contained BONDS's credit report, earning statements, and
       medical records. Officers also discovered on the USB drive a blank prescription template with
       Health Care Provider l's stolen name and DEA number; and fraudulent electronic prescriptions
       that BONDS created from Health Care Provider 1 to Individual 2 and Individual 3, both of which
       were for Alprazolam. That day, BONDS was interviewed in a Baltimore County jail. After waiving
       her Miranda rights, BONDS admitted to filling fraudulent prescriptions at pharmacies in
       Maryland.

               Additional evidence shows that BONDS used Individual 1, Individual 2, and Individual
       3's stolen identities to fill fraudulent prescriptions. Specifically, when BONDS was arrested
       following the March 1, 2016 car crash, officers found in BONDS's possession Individual l's
       driver's license and a receipt for a fraudulent Alprazolam prescription written to Individual 1. With
       respect to Individual 2, on March 1,2016, officers found in BONDS's possession Individual2's
       identification card and a receipt for an Alprazolam prescription written to Individual 2. Further,
       incident to the October 22, 2016 pharmacy arrest, officers found an electronic Alprazolam
       prescription from Health Care Provider 1 to Individual 2 on BONDS's USB drive. With respect
       to Individual 3, officers found an Alprazolam prescription written to Individual 3 in BONDS's


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purse after the March 1, 2016 car crash; Individual 3' s name and date of birth in the notebook
officers found on BONDS incident to the October 22, 2016 pharmacy arrest; and an electronic
Alprazolam prescription written to Individual 3 on BONDS's USB drive.

        Further, pharmacy surveillance footage from four separate dates shows BONDS filling
fraudulent prescriptions. Contemporaneous records from those dates show that BONDS was filling
prescriptions for Alprazolam that were fraudulently written using the names and DEA numbers of
Health Care Provider 1 and Health Care Provider 3. The two Health Care Provider 1 prescriptions
were both written to Individual 3. The Health Care Provider 3 prescriptions were both written to
BONDS. Hospital records show that all four prescriptions were forged.

        Medicaid data shows that prescriptions were written using Health Care Provider 1 and
Health Care Provider 2's names and DEA numbers to Individual 1, Individual 2, and Individual 3
for Alprazolam, Oxycodone, and Adderall. Health Care Provider 1 and Health Care Provider 2's
stolen DEA numbers were also used to write at least 27 prescriptions to BONDS for Alprazolam,
Clonazepam, Promethazine, and Adderall.

       Individual I, Individual 2, and Individual 3 have never met or spoken to BONDS.

              SO STIPULATED:


                                                        Grego~    ernstem
                                                        Assistant United States Attorney


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                                                        Tamiko Scott-Bonds
                                                        Defendant




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